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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
                    Plaintiff,                                  8:14CR363
     vs.                                          DETENTION ORDER PENDING TRIAL
CARLOS SAUL VARGAS-ROMERO,
                    Defendant.



A. Order For Detention

    X         After the defendant waived a detention hearing pursuant to 18 U.S.C. §
              3142(f) of the Bail Reform Act, the Court orders the above-named
              defendant detained pursuant to 18 U.S.C. § 3142(e) and (i).

B. Statement Of Reasons For The Detention

   The Court orders the defendant’s detention because it finds:

        X     By a preponderance of the evidence that no condition or combination of
              conditions will reasonably assure the appearance of the defendant as
              required.

        X     By clear and convincing evidence that no condition or combination of
              conditions will reasonably assure the safety of any other person or the
              community.

C. Finding Of Fact

   The Court’s findings are based on the evidence which was presented in court and
   that which was contained in the Pretrial Services Report, and includes the following:

    X       (1)   Nature and circumstances of the offense charged:

             X     (a)   The crime: (Count I) Conspiracy to Distribute 50 Grams or More
                         of Meth (Actual) and an Amount of Marijuana is a serious crime
                         and carries a maximum penalty of Life imprisonment, and
                         (Counts II, III and IV) Distribution of 5 Grams or More of Meth
                         (Actual) is a serious crime and carries a maximum penalty of 40
                         Years imprisonment.
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              (b)   The offense is a crime of violence.

          X   (c)   The offense involves a narcotic drug.

              (d)   The offense involves a large amount of controlled substances,
                    to wit:

        (2)   The weight of the evidence against the defendant is high.

        (3)   The history and characteristics of the defendant including:

              (a)   General Factors:

                           The defendant appears to have a mental condition
                           which may affect whether the defendant will appear.

                           The defendant has no family ties in the area.

                           The defendant has no steady employment.

                           The defendant has no substantial financial resources.

                           The defendant is not a long time resident of the
                           community.

                           The defendant does not have any significant community
                           ties.

                           Past conduct of the defendant:

                           The defendant has a history relating to drug abuse.

                           The defendant has a history relating to alcohol abuse.

                           The defendant has a significant prior criminal record.

                           The defendant has a prior record of failure to appear at
                           court proceedings.

              (b)   At the time of the current arrest, the defendant was on:

                           Probation

                           Parole

                           Supervised Release
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                                     Release pending trial, sentence, appeal or completion of
                                     sentence.

                 (c)    Other Factors:

                             X       The defendant is an illegal alien and is subject to
                                     deportation.

                                     The defendant is a legal alien and will be subject to
                                     deportation if convicted.

                             X       The Bureau of Immigration and Customs Enforcement
                                     (BICE) has placed a detainer with the U.S. Marshal.

                                     Other:

        (4)   The nature and seriousness of the danger posed by the defendant’s
        release are as follows:



   X    (5)     Rebuttable Presumptions

              In determining that the defendant should be detained, the Court also
              relied on the following rebuttable presumption(s) contained in 18 U.S.C.
              § 3142(e) which the Court finds the defendant has not rebutted:

                       (a)       That no condition or combination of conditions will
                                 reasonably assure the appearance of the defendant as
                                 required and the safety of any other person and the
                                 community because the Court finds that the crime involves:

                                   (1)   A crime of violence; or

                                   (2)   An offense for which the maximum penalty is life
                                         imprisonment or death; or

                         X         (3)   A controlled substance violation which has a
                                         maximum penalty of 10 years or more; or

                                   (4)   A felony after the defendant had been convicted of
                                         two or more prior offenses described in (1) through
                                         (3) above, and the defendant has a prior conviction
                                         for one of the crimes mentioned in (1) through (3)
                                         above which is less than five years old and which
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                                    was committed while the defendant was on pretrial
                                    release.

               X      (b)   That no condition or combination of conditions will
                            reasonably assure the appearance of the defendant as
                            required and the safety of the community because the Court
                            finds that there is probable cause to believe:

                        X     (1)   That the defendant has committed a controlled
                                    substance violation which has a maximum penalty of
                                    10 years or more.

                              (2)   That the defendant has committed an offense under
                                    18 U.S.C. § 924(c) (uses or carries a firearm during
                                    and in relation to any crime of violence, including a
                                    crime of violence, which provides for an enhanced
                                    punishment if committed by the use of a deadly or
                                    dangerous weapon or device).

D. Additional Directives

   Pursuant to 18 U.S.C. § 3142(i)(2)-(4), the Court directs that:

          1.   The defendant be committed to the custody of the Attorney General for
               confinement in a corrections facility separate, to the extent practicable
               from persons awaiting or serving sentences or being held in custody
               pending appeal; and

          2.   The defendant be afforded reasonable opportunity for private
               consultation with counsel; and

          3.   That, on order of a court of the United States, or on request of an
               attorney for the government, the person in charge of the corrections
               facility in which the defendant is confined deliver the defendant to a
               United States Marshal for the purpose of an appearance in connection
               with a court proceeding.

      DATED this 7th day of November, 2014.

                                          BY THE COURT:

                                          s/ F.A. Gossett, III
                                          United States Magistrate Judge
